           Case 2:23-ap-01151-SK Doc 42 Filed 09/01/23                                            Entered 09/01/23 21:17:55                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Vendriger,
       Plaintiff                                                                                                       Adv. Proc. No. 23-01151-SK
Klein,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Aug 30, 2023                                               Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 01, 2023:
Recip ID                 Recipient Name and Address
pla                      Adi Vendriger, 8 Beit Zuri Eliahu St., Tel Aviv, 6912208, ISRAEL
dft                    + Leslie Klein, 322 N. June Street, Los Angeles, CA 90004-1042

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
pla                            Adi Vendriger
intp                           Courtesy NEF
pla              *             Adi Vendriger, 8 Beit Zuri Eliahu Street, Tel Aviv, 6912208, ISRAEL

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 01, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on August 30, 2023 at the address(es) listed
below:
Name                               Email Address
Brett J. Wasserman
                                   on behalf of Plaintiff Adi Vendriger wasserman@smcounsel.com

Clarisse Young
                                   on behalf of Plaintiff Adi Vendriger youngshumaker@smcounsel.com levern@smcounsel.com

Michael I. Gottfried
                                   on behalf of Interested Party Courtesy NEF mgottfried@elkinskalt.com
          Case 2:23-ap-01151-SK Doc 42 Filed 09/01/23                                Entered 09/01/23 21:17:55    Desc
                              Imaged Certificate of Notice                           Page 2 of 4
District/off: 0973-2                                         User: admin                                          Page 2 of 2
Date Rcvd: Aug 30, 2023                                      Form ID: pdf031                                     Total Noticed: 2
                             cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com

Michael S Kogan
                             on behalf of Defendant Leslie Klein mkogan@koganlawfirm.com

Nikko Salvatore Stevens
                             on behalf of Interested Party Courtesy NEF nikko@cym.law mandi@cym.law

United States Trustee (LA)
                             ustpregion16.la.ecf@usdoj.gov


TOTAL: 6
     Case 2:23-ap-01151-SK Doc 42 Filed 09/01/23                    Entered 09/01/23 21:17:55       Desc
                         Imaged Certificate of Notice               Page 3 of 4


 1 SHUMAKER MALLORY LLP
   Clarisse Young Shumaker (SBN 106505)
 2 youngshumaker@smcounsel.com
                                                                  FILED & ENTERED
   Brett J. Wasserman (SBN 315058)
 3
   wasserman@smcounsel.com
 4 280 S. Beverly Dr., Suite 505                                        AUG 30 2023
   Beverly Hills, CA 90212
 5 Mailing Address                                                 CLERK U.S. BANKRUPTCY COURT
                                                                   Central District of California
   1 Ringbit Rd. W.                                                BY may        DEPUTY CLERK
 6 Rolling Hills, CA 90274
   Telephone: (213) 793-2020
 7
   Facsimile: (213) 674-4268
 8
   Attorneys for Creditor and Plaintiff ADI VENDRIGER, Co-Trustee
 9 and beneficiary of The First Amendment Trust Wendriger
   Family Dated May 7, 1990
10

11
                               UNITED STATES BANKRUPTCY COURT
12
                 CENTRAL DISTRICT OF CALIFORNIA- LOS ANGELES DIVISION
13

14 In re:                                          ) Case No.: 2:23-bk-10990-SK
                                                   )
15 LESLIE KLEIN,                                   ) Chapter 11
                                                   )
                                                   )
16                                                 ) Adv. Case No.: íDSíí6.
                 Debtor.                           )
17                                                 ) ORDER: 1) SETTING BRIEFING
                                                   ) SCHEDULE FOR MOTION TO DISMISS;
18                                                 )
   ADI VENDRIGER, Co-Trustee and                   ) AND 2) APPROVING STIPULATION TO
19 beneficiary of the First Amendment Trust        ) CONTINUE STATUS CONFERENCE
   Wendriger Family Dated May 7, 1990,             )
20                                                 ) Present Status Conference Date:
                                                   )
21               Plaintiff,                        ) Date: September 6, 2023
                                                   ) Time: 9:00 a.m.
22                                                 ) Crtrm: 1575
            v.                                     )
23                                                 ) Hearing on Motion to Dismiss and Status
      LESLIE KLEIN and DOES 1 through 10,          )
                                                   ) Conference:
24                                                 ) Date: October 18, 2023
                 Defendants.                       ) Time: 9:00 a.m.
25                                                 ) Crtrm: 1575
                                                   )
26
27
     Case 2:23-ap-01151-SK Doc 42 Filed 09/01/23                        Entered 09/01/23 21:17:55          Desc
                         Imaged Certificate of Notice                   Page 4 of 4


1          The Court having considered WKH³0RWLRQIRU2UGHU'LVPLVVLQJ&HUWDLQ&DXVHVRI$FWLRQ

2 ´  0RWLRQ ILOHGE\Adi Vendriger, as Co-Trustee and beneficiary of the First Amendment

3 Trust Wendriger Family Dated May 7, 1990 (Plaintiff) [Docket No. 34] and the ³Stipulation for

4 Order to Continue Status Conference´ (Stipulation) [Docket No. 38] entered into between
5 Plaintiff and Defendant, Leslie Klein (Defendant),

6          IT IS HEREBY ORDERED THAT:

7          1.      The Motion is set for hearing on October 18, 2023 at 9:00 a.m..

8          2.      The deadline for filing an opposition to the Motion is September 13, 2023, at

9                  12:00 p.m. noon.

10         3.      The deadline for filing a reply, if any, to the opposition, is September 20, 2023, at

11                 12:00 p.m. noon.

12         4.      No further briefing will be allowed or considered.

13         5.      The Stipulation is approved.

14         2.      The Status Conference is continued to October 18, 2023, at 9:00 a.m.

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23        Date: August 30, 2023

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